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                             UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

  UNITED STATES OF AMERICA,

  vs.                                                     CASE NO. 8:13CR480-T-EAK-AEP

  ALBERTO ENRIQUE ALVAREZ TAMARA
                              /

                                              ORDER

         This cause comes before the Court on notice from the Office of the Federal Defender
  that it has satisfied the requirements set forth in the Court’s Omnibus Order In Re:
  Amendment 782, United States Sentencing Guidelines, 6:14-MC-78-ORL-22 (“Omnibus
  Order”), and notification that the office will not be filing a Motion for Sentence Reduction
  under Amendment 782 on behalf of Defendant Tamara pursant to the retroactive application
  of revised sentencing guidelines (Doc. 145). The Defendant in this case has not filed a
  motion for reduction in sentence under Amendment 782. The Court will allow the Defendant
  to file a a motion requesting a reduction before it determines the matter. Accordingly, it is.
         ORDERED that defendant has up to and including March 31, 2016, to file a motion

  and memorandum in support of his contention that his sentence should be reduced. The

  government is directed to file a response to any filings within fifteen days of the date of any

  filing from the defendant. The Court will rule on the issue as soon as possible after that date.

  The Federal Defender is withdrawn from this matter.

         This 1st day of February, 2016.
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  Copies to: All parties and counsel of record
